                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR07-0058-LRR
 vs.
                                                                 ORDER
 GREGORY LADWIG,
               Defendant.

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       This matter is before the court pursuant to the defendant’s motion to reduce sentence
under 18 U.S.C. § 3582(c)(2) (docket no. 81). The defendant filed such motion on June
8, 2009.
       In relevant part, 18 U.S.C. § 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”).




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      On November 1, 2007, the Sentencing Commission issued Amendment 706, as
amended by Amendment 711, to USSG §2D1.1.              See generally USSG App. C at
www.ussc.gov. Amendment 706 generally reduces by two levels the offense level that is
applicable to cocaine base (“crack”) offenses. On December 11, 2007, the Sentencing
Commission voted to apply Amendment 706 retroactively to crack offenses, and it set
March 3, 2008 as the date that Amendment 706 could be applied retroactively. The
Sentencing Commission also promulgated amendments to USSG §1B1.10, which sets forth
the conditions that must exist before a defendant is entitled to a sentence reduction as a
result of an amended guideline range. See generally USSG App. C at www.ussc.gov.
New USSG §1B1.10 took effect on March 3, 2008 and, in relevant part, states:
             In a case in which a defendant is serving a term of
             imprisonment, and the guideline range applicable to that
             defendant has subsequently been lowered as a result of an
             amendment to the Guidelines Manual listed in subsection (c)
             below, the court may reduce the defendant’s term of
             imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
             required by 18 U.S.C. § 3582(c)(2), any such reduction in the
             defendant’s term of imprisonment shall be consistent with this
             policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”). The Sentencing Commission
included Amendment 706 within subsection (c). USSG §1B1.10(c). Further, on April 16,
2008, the Sentencing Commission promulgated Amendment 715 to USSG §2D1.1 and
USSG §1B1.10, and it set May 1, 2008 as the date that Amendment 715 could be applied
retroactively. See generally USSG App. C at www.ussc.gov. With respect to USSG
§2D1.1, Amendment 715 modifies the commentary, that is, revises the manner in which
combined offense levels are determined in cases involving crack and one or more other
controlled substance. Concerning USSG §1B1.10, the Sentencing Commission deemed
it appropriate to include Amendment 715 within subsection (c). USSG §1B1.10(c).

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      Nevertheless, the court is unable to rely on Amendment 706 or Amendment 715 to
reduce the defendant’s sentence. See generally United States v. Wyatt, 115 F.3d 606, 608-
09 (8th Cir. 1997) (explaining requirements under 18 U.S.C. § 3582(c)(2) and USSG
§1B1.10). Here, the court sentenced the defendant on May 8, 2008, and judgment entered
against the defendant on May 12, 2008. The pre-sentence investigation report, which the
court adopted without change, indicates that the court applied the applicable, amended
guidelines in effect at the time he was sentenced, that is, the court relied on USSG
§2D1.1(c)(5) when arriving at offense level 30. Accordingly, a reduction under 18 U.S.C.
§ 3582(c)(2) and USSG §1B1.10 is not warranted. The defendant’s motion to reduce
sentence under 18 U.S.C. § 3582(c)(2) is denied.


      IT IS SO ORDERED.
      DATED this 10th day of June, 2009.




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